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                      IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                               PIKEVILLE DIVISION
                            CIVIL NO: 7:11-cv-00153-ART

JUSTIN PRATER,                                                                   Plaintiff

vs.                        NOTICE OF VOLUNTARY DISMISSAL

RUMSON, BOLLING & ASSOCIATES,                                                  Defendant

                                       ********

_____________________________________________________________________________

         NOW COMES Plaintiff, JUSTIN PRATER (“Plaintiffs”), by and through his attorneys,

KROHN & MOSS, LTD., and pursuant to FRCP 41(a)(1)(A) (Dismissal of Actions—Voluntary

Dismissal By Plaintiff Without Court Order) voluntarily dismisses, without prejudice,

RUMSON, BOLLING & ASSOCIATES, (“Defendant”), in this case.


                                                RESPECTFULLY SUBMITTED
                                                KROHN & MOSS, LTD


Dated: December 13, 2011

                                                By: s/ Lee Cassie Yates______________
                                                   Lee Cassie Yates - # 352688
                                                   Krohn & Moss, Ltd.
                                                   10 N. Dearborn, 3rd Floor
                                                   Chicago, IL 60602
                                                   Telephone: (312) 578-9428

                                                    Attorney for Plaintiff
 

 

 

 
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on January 3, 2012, I electronically filed the foregoing with the Clerk
of the Court by using the CM/ECF system. I further certify that on January 3, 2012, I served all
counsel of record with a copy of this document by way of the CM/ECF System.



Dated: December 13, 2011

                                                      By: s/ Lee Cassie Yates______________
                                                         Lee Cassie Yates - # 352688
                                                         Krohn & Moss, Ltd.
                                                         10 N. Dearborn, 3rd Floor
                                                         Chicago, IL 60602
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                                                         Attorney for Plaintiff
